            Case 3:18-cv-00180-SB         Document 64       Filed 11/22/19     Page 1 of 13




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                            IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF OREGON

                                        PORTLAND DIVISION


    BEN COLEMAN-FIRE,                                    Civil No. 3:18-cv-00180-SB

                           Plaintiff,                    DEFENDANT’S RESPONSE TO
                                                         PLAINTIFF’S MOTION FOR
                   v.                                    ATTORNEY’S FEES AND COSTS

    STANDARD INSURANCE COMPANY,

                           Defendant.



                                        INTRODUCTION

          Plaintiff Ben Coleman-Fire (“Coleman-Fire”) seeks attorneys’ fees in connection

   with his Employee Retirement Income Security Act (“ERISA”) claim for long term

   disability benefits. Defendant Standard Insurance Company (“Standard”) understands that

   in light of his success on the merits of the claim, Coleman-Fire likely satisfies the Hummell

   v. S.E. v. Rykoff & Co., 634 F.2d 446, 453 (9th Cir. 1980) five-factor test and may be entitled

   to recover “reasonable” attorneys’ fees. But see Herman v. Lifemap Assurance Company,


Page 1 - DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEY’S
         FEES AND COSTS
             Case 3:18-cv-00180-SB        Document 64       Filed 11/22/19     Page 2 of 13




   17-cv-01336-MO, 2019 WL 1040970 (D. Or. March 5, 2019) (denying fees under Hummell

   analysis in similar “close call” ERISA case). If fees are awarded, however, the hourly rate,

   and in particular, the amount of hours for which Coleman-Fire seeks fees are not reasonable.

                                          ARGUMENT

       A. The Requested Hourly Rate is Disproportionately Higher than The Rates
          Previously Awarded Coleman-Fire’s Counsel

       “A reasonable hourly rate is determined by looking at the prevailing rate in the relevant

   community for similar work performed by attorneys of comparable skill, experience, and

   reputation.” Anderson v. Ross Island Sand & Gavel Co., 3:18-cv-00898-SB, 2018 WL

   5993581, at *3 (D. Or. Oct 24, 2018). The fee applicant bears the burden of producing

   satisfactory evidence of the prevailing rates in the community for similar services by

   lawyers of reasonable comparable skill, experience, and reputation. Comacho v. Bridgeport

   Fin., Inc., 523 F3d 973, 980 (9th Cir. 2008); Jordan v. Multnomah Cnty., 815 F.2d 1258,

   1263 (9th Cir. 1987). “The best evidence of the prevailing rate in Portland, Oregon, is the

   2017 Economic Survey Conducted by the Oregon State Bar.” Anderson, 2018 WL 5993581

   at *3.

            Coleman-Fire’s attorney, Megan E. Glor (“Attorney Glor”), asks the Court to award

   her a rate equal to the 75 percentile for Portland attorneys with 21-30 years’ experience.

   Historically, however, this District has repeatedly based Attorney Glor’s rate on the

   “average” rate for Portland attorneys with her years of experience. See e.g., Robertson v.

   Standard Insurance Co., 3:14-cv-01572-HZ, 2016 WL 406343, at *6 (D. Or. January 31,

   2016) (awarding Attorney Glor a $336.34/hr based on the average 2012 rate adjusted for

   inflation); Vox v. Providence Health Plan, 3:12-cv-01348-HZ, 2014 WL 3478566 at *3 (D.

   Or July 11, 2014) (awarding Attorney Glor $300/hr, which was less than the $328 average


Page 2 - DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEY’S
         FEES AND COSTS
            Case 3:18-cv-00180-SB         Document 64       Filed 11/22/19     Page 3 of 13




   rate); Toth v. INA Life Ins. Co. of New York, 08-653-JE, 2010 WL 170260, at * 6 (D. Or

   January 13, 2010) (awarding Attorney Glor $270/hr, which was slightly more than the

   average and slightly less than the median rate); Mindt v. Prudential Ins. Co. of America, 03-

   761-ST, 2004 WL 1878339, at *3 (D Or August 23, 2004) (awarding Attorney Glor $190/hr

   based on the average rate for her years of practice).

          The average hourly rate for a Portland attorney with Attorney Glor’s experience in

   the 2017 Economic Survey is $394. That represents a 17.4% increase from her most recent

   award just under four-years ago. The $394/hr rate is also more than double the 7.6% rate of

   inflation, as reflected by the consumer price index (“cpi”), over that period of time.1 In

   contrast, Attorney Glor’s requested rate would be an astonishing 41.22% increase. See Toth,

   20014 WL 1878339 at *3) (rejecting Attorney Glor’s request to increase her rate by 58%

   over 2.5 years as “unreasonable” and instead increasing it 6.1% based on the cpi).

          For these reasons, Standard respectfully submits that any fees awarded Attorney Glor

   should be at the average rate for a Portland attorney with her years of experience: $394/hr.

       B. The Hours Spent on This Litigation Were Excessive

          It is the fee claimant’s burden to show that the number of hours spent on the case

   was “reasonably necessary” to the litigation. Hensley v. Eckerhart, 461 US 424, 434 (1983).

   The district court may also exclude any hours that are excessive, redundant, or otherwise

   unnecessary. McCown v. City of Fontana, 565 F.3d 1097, 1102 (9th Cir. 2009). In addition,

   the Ninth Circuit has stated that a district court may “impose a small reduction, no greater

   than 10 percent—a ‘haircut’—based on its exercise of discretion and without a more specific



   1
    See https://www.minneapolisfed.org/community/financial-and-economic-education/cpi-
   calculator-information/consumer-price-index-and-inflation-rates-1913. This District has relied on
   the cpi in evaluating the increase of an attorney’s rate in Robinson and Toth.

Page 3 - DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEY’S
         FEES AND COSTS
             Case 3:18-cv-00180-SB         Document 64       Filed 11/22/19     Page 4 of 13




   explanation.” Moreno v. City of Sacramento, 534 F.3d 1106, 1112 (9th Cir. 2008). And

   even if the opposing party has not objected to the time billed, the district court may not

   uncritically accept a fee request, but is obligated to review the time billed and assess

   whether it is reasonable. Sealy, Inc. v. Easy Living, Inc., 743 F.2d 1378, 1385 (9th Cir.

   1984).

               1. The Time Spent On This Matter Is Grossly Disproportionate To Other
                  ERISA Matters And Without Justification.

            This was a straightforward ERISA case. It did not involve a novel or difficult legal

   question. The Court simply weighed the competing evidence and opined on whose doctors

   the Court found most compelling. The Court did not, contrary to Coleman-Fire’s

   suggestion, analyze any legal issue regarding the mental disorder limitation, but merely

   found that Coleman-Fire presented sufficient evidence demonstrating that his limitations

   were caused by his physical injury. See Court’s Finding of Facts and Conclusion of Law,

   Docket No. 40, at ¶¶ 20-21. And while “[m]ost ERISA cases involve the difficult issue of

   determining the appropriate standard of review,” as in Mindt, “here, however, defendants

   conceded that it was de novo.” Mindt, 2004 WL 1878339, at *3 (noting for these same

   reasons, “as far as ERISA cases go, this was not a very complex case.”).

            Nor does the size of the administrative record warrant a particularly large amount of

   time. In fact, the only time entry submitted by Attorney Glor that actually references time

   spent reviewing the administrative record is for 2.3 hour on 9/17/18. Declaration of Megan

   E. Glor, Exhibit B, page 4 of 15. This is not particularly surprising, however, given that

   Attorney Glor represented Coleman-Fire during her administrative appeals and was thus




Page 4 - DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEY’S
         FEES AND COSTS
             Case 3:18-cv-00180-SB        Document 64        Filed 11/22/19     Page 5 of 13




   quite familiar with the small portion of the record that was relevant.2 Dishman v. UNUM

   Life Ins. Co. of Am., 269 F3d 974, 987 (9th Cir 2001) (“ERISA does not allow for attorneys'

   fees for the administrative phase of the claims process.”) (internal citation omitted).

          And in Robertson, for example, the administrative record was 1974 pages, over 700

   pages more than the 1248 pages at issue here. See Robertson 3:14-cv-01572-HZ, Docket

   No. 21. Yet, in that case, which also included a motion to transfer venue, a motion to

   compel and a motion for clarification, and where the lead counsel was less experienced, and

   awarded a lower hourly rate to reflect, in part to reflect that he was presumably less efficient

   in his use of time, the plaintiff only sought 178.6 hours of attorney time (more than half the

   amount sought here), 147.1 of which were ultimately awarded. Robertson, 2016 WL

   406343.

          Indeed, despite the fairly routine nature of this ERISA case, the 381.2 hours of time

   Attorney Glor seeks to recover on this matter is 80% higher than the average time awarded

   in ERISA cases in Oregon and Washington over the last five years. See Appendix A

   showing average time awarded is 211.92 hours.3 And 60% greater than the average time

   awarded in ERISA cases in Oregon, Washington and California over that same time period.

   See Appendix B showing average time awarded is 237.25 hours.4




   2
    The Court is well aware that the parties’ arguments centered around a handful of key
   documents. A review of Coleman-Fire’s opening brief reveals that less 1/3 of the Administrative
   Record was cited.
   3
     This figure excludes two (2) “outlier cases” where less than 100 hours of time were awarded.
   With the outliers, the average time awarded decreases to 160.49 hours. Appendix A includes the
   outlier cases.
   4
     This figure excludes 10 “outlier cases,” six (6) of which where less than 125 hours were
   awarded and four (4) of which were over 500 hours in unusually long and larger complex cases.
   With the outliers, the average time awarded increases to 251.53 hours. Appendix B also includes
   the outlier cases.

Page 5 - DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEY’S
         FEES AND COSTS
             Case 3:18-cv-00180-SB          Document 64      Filed 11/22/19     Page 6 of 13




            In determining whether an attorney has spent an excessive amount of time in ERISA

   cases, the Ninth Circuit has approved looking at “the time spent on similar tasks by …

   attorneys in other ERISA cases.” Day v. AT&T Disability Income Plan, 608 Fed. Appx.

   454, 457 (9th Cir. 2015). In that case, the Ninth Circuit affirmed the district court’s

   reduction of the plaintiff’s counsel’s requested 334.1 hours to 239.9 hours based on the fact

   that the time requested was disproportionately large compared to three other recent ERISA

   cases.

            Specifically, the district court explained:

            ATT contends that Nichols’ billed hours are excessive and unreasonable
            when viewed against similar cases. Nichols claims he worked 334.1 hours to
            review documents and prepare briefs for summary judgment. By comparison,
            in Mitchell v. Metro. Life Ins. Co., No. CV 05-00810 DDP, 2008 WL
            1749473, at *4 (C.D.Cal. April 7, 2008), the court found that the ERISA
            attorneys worked 232.6 hours, for all trial proceedings including the bench
            trial. In Joas v. Reliance Std. Life Ins. Co., No. 03CV850 WQH, 2008 WL
            1859998, at *1, 4 (S.D. Cal. April 22, 2008), the court reduced the ERISA
            attorneys’ number of hours to 263.8 for cross-motions for summary judgment
            and an appeal. In King v. Cigna Corp., No. C 06-7025 CW, 2007 WL
            4365504, at * 1, 6 (N.D.Cal. Dec.13, 2007), the court determined that the
            ERISA attorneys worked 223.4 hours for a motion for summary judgment.4
            These recent cases, which all bill under Nichols’ 334.1 hours, make his hours
            seem excessive.

            …

            [T]he billable hours are excessive and will be reduced to 239.9 hours…the
            average hours spent in the Mitchell, Joas, and King cases.

   Day v. SBC Income Disability Plan, 2008 WL 2783482, C 06-1740 JW (RS), * 2, 3 (ND

   CA, July 8, 2008), aff’d 608 Fed. Appx. 454.

            Notably, the 239.9 hours that the district court deemed typical in Day is almost

   identical to the 237.25 average awarded in all published cases in Oregon, Washington and

   California over the past five years. Accordingly, for the same reasons as in Day, Standard



Page 6 - DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEY’S
         FEES AND COSTS
            Case 3:18-cv-00180-SB         Document 64       Filed 11/22/19     Page 7 of 13




   contends that any time awarded in this case should be reduced to that 237.25 hour average.

   Alternatively, reductions are warranted for the more specific reasons discussed below.

              2. Attorney Glor Is Not Entitled to Recoup Time Spent Before She Was
                 Retained To Pursue Litigation.

          As noted above, “ERISA does not allow for attorneys' fees for the administrative

   phase of the claims process.” Dishman, 269 F3d at 987 (internal citation omitted). Attorney

   Glor’s time records show that on August 28, 2017 she spent 1.2 hours “prepar[ing]” her

   retainer agreement and communicating with her client about it.5 She then spends a total of

   .6 hours on September 2, 2017, October 30, 2017 and November 27, 2017 communicating

   regarding the terms of the agreement and costs moving forward. And Attorney Glor does

   not begin preparing the Complaint until December 17, 2017. Decl. of Megan E. Glor, Ex B

   page 1 of 15. Given that Glor was not retained for purposes of this litigation until August

   28, 2017 at the earliest (and more likely November 27, 2017), at a minimum the 6.8 hours

   Attorney Glor billed from June 8, 2017 through August 24, 2017, and arguably the

   additional 1.8 hours from August 28 to November 27, are not recoverable. Dishman, 269

   F.3d at 987.

              3. The Time Spent on A Request for Settlement Was Unnecessary

          Attorney Glor seeks 7.2 hours of time from May 16, 2018 through June 26, 2018

   related to drafting a 3.25-page settlement demand that requested over $1,500,000—of which



   5
    The time entry does not explain how much time was spent on each task, and therefore also
   warrants reduction as a block bill. Ayala v. Cook Family Builders LLC, 3:17-CV-266-PK, 2018
   WL 1631453, at *4 (D Or Mar 6, 2018) (“Because the practice of block billing systematically
   impairs the court's ability to ascertain the reasonableness of an attorney's time expenditures, the
   courts of the District of Oregon have of long standing adopted the practice of eliminating block-
   billed time entries in their entirety from the lodestar calculation.”), report and recommendation
   adopted, 3:17-CV-266-PK, 2018 WL 1629863 (D Or Apr 3, 2018).


Page 7 - DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEY’S
         FEES AND COSTS
            Case 3:18-cv-00180-SB         Document 64        Filed 11/22/19     Page 8 of 13




   only $53,605.50 was for past benefits and $1,283,198 constituted future benefits that may or

   may not be paid over the next 32 years—and rejecting Standard’s offer to mediate unless

   Standard first responded with a figure close to the $1,500,000.00 demand.6 Declaration of

   Andrew Altschul In Support of Response to Plaintiff’s Motion for Attorneys’ Fees and Costs

   (“Altschul Decl.”), ¶2-3, Ex A and B. This is an excessive amount of time for one short

   letter, but more importantly it is an unnecessary amount given that Coleman-Fire did not

   fully engage in settlement efforts. He essentially directed his attorney to ask for everything

   he could possibly recover and then refused to engage in any serious negotiations.

              4. The Time Spent On Pointless Discovery Should Not Be Awarded

          From July 31, 2018 to September 26, 2018 (excluding the September 4, 2018 time

   entry related to an extension to the JADR deadline and September 17, 2018 time entry

   related to reviewing the record) Attorney Glor recorded 12.3 hours related to pursuing

   discovery of what she concedes was “relatively benign” information. Declaration of Megan

   E. Glor, ¶ 18; Ex B, pages 3-4. That characterization, however, over emphasizes the value

   of the discovery; it was useless and none of the 11-pages of documents produced were

   presented to the Court as part of Coleman-Fire’s brief on the merits. Altschul Decl. ¶ 4.

          The fact that Standard choose to produce documents, subject to a protective order,

   that it did not believe it was required to produce rather than spend time (including the

   Court’s) and money fighting a motion to compel it may have prevailed on should not be



   6
    FRE 408 does not prevent a court from considering settlement communications in connection
   with a motion for attorneys’ fees. Ingram v. Oroudjian, 647 F3d 925, 927 (9th Cir 2011) (“We
   agree with the reasoning of the Third Circuit and therefore hold that the district court did not err
   by considering settlement negotiations for the purpose of deciding a reasonable attorney fee
   award in this case.”); Lohman v. Duryea Borough, 574 F.3d 163, 167 (3d Cir.2009) (“We agree
   with the District Court that Rule 408 does not bar a court's consideration of settlement
   negotiations in its analysis of what constitutes a reasonable fee award in a particular case.”)

Page 8 - DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEY’S
         FEES AND COSTS
              Case 3:18-cv-00180-SB       Document 64       Filed 11/22/19      Page 9 of 13




   reason to provide fees to Coleman-Fire for the time related to this pointless pursuit. Courts

   traditionally limit discovery in ERISA cases to effectuate “ERISA’s policy of keeping

   proceedings inexpensive and expeditious.” Kelly v. Standard Ins. Co., 3:17-CV-1111-YY,

   2018 WL 3639844, at *2 (D Or July 3, 2018). In de novo review cases, like this one, “[a]

   district court should exercise its discretion to consider evidence outside of the administrative

   record “‘only when circumstances clearly establish that additional evidence is necessary to

   conduct an adequate de novo review of the benefit decision.’” Kelly, 2018 WL 3639844 at

   *1 (quoting Opeta v. Nw. Airlines Pension Plan for Contract Employees, 484 F3d 1211,

   1218 (9th Cir 2007)) (emphasis in original). Given that Coleman-Fire did not even attempt

   to make use of the additional evidence discovered, the Court should treat the time as it

   would if it denied a request to compel the evidence, and exclude its recovery. See Robinson,

   2016 WL 406343, at * 3 (denying time for unsuccessful discovery motion).

                5. The Time Spent on the Summary Judgment Briefing Was Excessive

             The bulk of Attorney Glor’s time, as one would expect in an ERISA case, is devoted

   to briefing on the merits. Specifically, Attorney Glor seeks 264 hours to prepare three (3)

   briefs: 92.7 on Coleman-Fire’s Opening brief, 78.8 on Coleman-Fire’s Response to

   Standard’s Cross-Motion, and 92.5 on Coleman-Fire’s Reply brief. Declaration of Megan

   E. Glor, Exhibit B pages 4-7. This is an astonishingly large amount of time, especially in

   light of Attorney Glor’s experience and expertise. See Gurasich v. IBM Retirement Plan,

   14-cv-02911-DMR, 2016 WL 3683044, at *10-11, (ND Cal July, 2016) (finding 174.8 hours

   briefing ERISA cross-motions for summary judgment excessive and reducing time to 157.31

   hours).

                6. The Time Spent Preparing for Oral Argument Was Unreasonable.



Page 9 - DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEY’S
         FEES AND COSTS
           Case 3:18-cv-00180-SB         Document 64      Filed 11/22/19     Page 10 of 13




          Attorney Glor acknowledges that she spent nearly 14 hours preparing for and

   participating in oral argument. Declaration of Megan E. Glor ¶20, Exhibit B, page 8 of 15.

   Standard disagrees that this is reasonable. Oral argument lasted approximately 1.5 hours. That,

   and an additional 3.5 hours of preparation time, is more than reasonable given the extensive

   briefing on the matter and Attorney Glor’s experience and expertise.

              7. The Requested Costs are Reasonable.

          Standard does not object to the $455 in costs requested by Coleman-Fire.


                                           CONCLUSION
          For the reasons discussed above, Standard requests that any award of fees and costs be

   limited as follows:


          Attorney Glor:                        237.25 hours x. 394/hr = $93,476.50


          Paralegal Robert Turlington:          6.1 hours x $100/hr = $610


          Costs:                                $455




           DATED: November 22, 2019.
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Page 10 - DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEY’S
          FEES AND COSTS
         Case 3:18-cv-00180-SB               Document 64           Filed 11/22/19    Page 11 of 13




                                                      APPENDIX A



                                                                                 Hours Sought Hours Awarded
Case Name                                  Citation          Court      Year     by Plaintiff to Plaintiff

Bergen v. Tualatin Hills Swim Club, Inc.   2016 WL 2736105 D. Or.         2016           23.3             23
Hartle v. Life Insurance Company of
North America                              2019 WL 195087    W.D. Wa.     2019          116.4           40.8
Robertson v. Standard Insurance Co.        2016 WL 406343    D. Or.       2016          178.6           147
James v. Grp. Life and Health Benefits
Plan for Employees Participating AMR
Corp. Subsidiaries                         2014 WL 6474929   D. Or.       2014          148.2          148.2
Paulson v. Principal Life Insurance Co.    2017 WL 4843837   W.D. Wa.     2017          175.6          175.6
Flaaen v. Principal Life Insurance Co.     2017 WL 6527144   W.D. Wa.     2017                         283.7
Yox v. Providence Health Plans             2014 WL 3478566   D. Or.       2014          375.4          305.1

AVERAGE                                                                                169.58         160.49
AVERAGE WITHOUT OUTLIERS*                                                              219.45         211.92
*Removed two cases awarding <100
          Case 3:18-cv-00180-SB                  Document 64                Filed 11/22/19         Page 12 of 13




                                                         APPENDIX B



                                                                                                Hours Sought Hours Awarded
Case Name                                            Citation                Court        Year by Plaintiff     to Plaintiff
Bergen v. Tualatin Hills Swim Club, Inc.             2016 WL 2736105         D. Or.        2016            23.3              23
Bd. Of Motion Picture Indus. Pension Plan v.
Revolver Film Co.                                    2017 WL 3457107         C.D. Cal.     2017          35.81           35.81
Hartle v. Life Insurance Company of North
America                                              2019 WL 195087          W.D. Wa.      2019          116.4             40.8
Rangel v. Aetna Life Insurance Co.                   2016 WL 1449539         C.D. Cal.     2016          125.1             83.3
Barboza c. California Association of Professional
Firefighters                                         2016 WL 3125996         E.D. Cal.     2016                          105.8
Low‐lacovino v. Benefit Plan Committee of
Nonbargained Program of AT&T Benefit Plan            2018 WL 6985241         C.D. Cal.     2018          166.9         108.485
Robertson v. Standard Insurance Co.                  2016 WL 406343          D. Or.        2016          178.6             147
James v. Grp. Life and Health Benefits Plan for
Employees Participating AMR Corp. Subsidiaries       2014 WL 6474929         D. Or.        2014          148.2           148.2
Armani v. Northwestern Mutual Life Insurance
Co.                                                  2017 WL 3174894         C.D. Cal.     2017          148.3           148.3
Leetzow v. Metropolitan Life Insurance Co., et al.   2017 WL 1231719         C.D. CA.      2017           155            155.7
Keith McBean v. United Omaha Life Insurance          2019 WL 2588151         S.D. Cal.     2019          164.4           164.4
Bosley v. Metropolitan Life Insurance Co.            2017 WL 4071346         N.D. Cal.     2017          166.9           166.9
Dmuchowsky v. Sky Chefs, Inc.                        2019 WL 1934480         N.D. Cal.     2019          185.1           167.4
Helman v. Aetna Life Insurance Co.                   2018 WL 6118515         C.D. Cal.     2018          179.6           167.9
Paulson v. Principal Life Insurance Co.              2017 WL 4843837         W.D. Wa.      2017          175.6           175.6
Elise Dragu v. Motion Picture Industry Health        159 F. Supp. 3d 1121    N.D. Cal.     2016           199             191
Duarte v. Aetna Life Insurance Co.                   2016 WL 11505593        C.D. Cal.     2016          202.5           192.5
Day v. SBC Disability Income Plan                    608 Fed. Appx. 454      9th Cir.      2015          334.1           239.9
Harlow v. Metropolitan Life Insurance Co.            2019 WL 2265136         C.D. Cal.     2019          266.5           263.5
James v. AT&T West Dsiability Benefits Program,
et al.                                               2014 WL 7272983         N.D. Ca       2014            283           266.5
Flaaen v. Principal Life Insurance Co.               2017 WL 6527144         W.D. Wa.      2017                          283.7
Yox v. Providence Health Plans                       2014 WL 3478566         D. Or.        2014          375.4           305.1
Estate of Maurice v. Life Insurance Company of
North America                                        2018 WL 5793284         C.D. Cal.     2018          384.9           370.3
Gurasich v. IBM Retirement Plan                      2016 WL 3683044         N.D. Cal.     2016          435.2           380.2
Perris Valley Com. Hosp. LLC v. Southern
California Pipe Trades Administrative Corporation    2014 WL 12687444        C.D. Cal.     2014         406.55          382.65
Dowdy v. Metropolitan Life Insurance Company         2019 WL 120730          N.D. Cal.     2019          481.6           432.3

Reddick v. Metropolitan Life Insurance Company 2018 WL 637938                S.D. Cal.     2018                            515

Doe v. Prudential Insurance Company of America 258 F. Supp. 3d 1089          C.D. Cal.     2017          536.3           536.3
Echague v. Metropolitan Life Insurance Co.     69 F. Supp. 3d 990            N. D. Cal.    2014           700             630
Oldoerp v. Wells Fargo Company Long Term
Disability Plan                                2014 WL 2621202               N.D. Cal.     2014            766           718.4

AVERAGE ALL CASES WITH HOURS AWARDED                                                                    271.86          251.53
AVERAGE WITH OUTLIERS* REMOVED                                                                          256.34          237.45
*Removed 6 cases awarding <125 and 4 cases awarding >500
        Case 3:18-cv-00180-SB        Document 64      Filed 11/22/19   Page 13 of 13




                                  CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing DEFENDANT’S RESPONSE TO

PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND COSTS on the following-named

persons on the date indicated below in the manner indicated:


        mailing with postage prepaid
        hand delivery
        facsimile transmission
        email
        notice of electronic filing using the CM/ECF system

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        DATED: November 22, 2019                 BUCHANAN ANGELI ALTSCHUL &
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Page 1 – CERTIFICATE OF SERVICE
